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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

Criminal Case No. 16-cr-054-WJM

UNITED STATES OF AMERICA,

         Plaintiff,

v.

1.       HEATHER CARR,
2.       TRAMMEL THOMAS,
3.       MERCEDES DIAZ,

         Defendants.


           ORDER REGARDING DISCLOSURE OF GRAND JURY MATERIALS


         Upon consideration of the Government’s Motion to Disclose Copies of Grand

Jury Materials under Specified Conditions to the Attorneys for the Defendants Pursuant

to Fed. R. Crim. P. 6(e)(3)(E)(i), it is

         ORDERED that a copy of the transcript of testimony given before the Grand Jury

and related exhibits be disclosed to the attorneys for the Defendants for preparation for

trial.

         IT IS FURTHER ORDERED THAT:

         1. Defense counsel make only such copies as are necessary to prepare a

defense of this criminal case;

         2. Defense counsel keep a written record concerning how many copies were

made, to whom those copies were delivered, and the date of delivery, and that defense

counsel deliver a copy of this Order allowing disclosure with the materials;
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        3. Defense counsel provide the Defendants with reasonable access to the

Grand Jury materials, but that defense counsel not allow the Defendants to retain

copies of any grand jury materials;

        4. No person, other than defense counsel, make any copy of the Grand Jury

materials for any purpose; and

        5. At the conclusion of the case in this Court, by entry of the Court’s judgment,

defense counsel collect all such copies and return them to the Government within ten

days.


        Dated this 31st day of March, 2016.


                                                  BY THE COURT:



                                                  __________________________
                                                  William J. Martínez
                                                  United States District Judge




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